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                            EXHIBIT A
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                       UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                HARTFORD DIVISION
 ______________________________
                                 )
 In re:                          )          Chapter 11
                                 )
 OLD CP, INC., et al.,           )          Case No. 21-20111
                                 )          (Jointly Administered)
        Reorganized Debtors. 1   )
 ______________________________)            RE: ECF Nos. 1103, 1136, 1137, and 1143


           ORDER GRANTING FIRST AND FINAL FEE APPLICATION OF
         LOCKE LORD LLP FOR PROFESSIONAL SERVICES RENDERED AND
         REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL TO THE
     DEBTORS FOR THE PERIOD OF JANUARY 14, 2021 THROUGH AUGUST 17, 2021

          The Court has considered the First and Final Application of Locke Lorde LLP for

 Professional Services Rendered and Reimbursement of Expenses Incurred as Counsel to the

 Debtors for the Period of January 14, 2021 Through August 17, 2021 (ECF No. 1103, the

 “Application”) 2 for the period from January 14, 2021 through August 17, 2021 (the

 “Compensation Period”) filed by Locke Lord LLP (“Locke Lord” or the “Firm”); and this Court,

 having considered the Application, any objections or opposition to the Application, the parties’

 legal briefs and arguments in support of their positions, and the Firm’s having complied with

 relevant provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules,




 1
   The last four digits of each reorganized Debtor’s federal tax identification number are Carla’s Pasta, Inc. (5847)
 and Suri Realty, LLC (5847). On August 2, 2021, the Court entered its Findings of Fact, Conclusions of Law, and
 Order Confirming First Amended Joint Chapter 11 Plan of Liquidation of the Debtors [ECF 1054] (the
 “Confirmation Order”) in connection with the First Amended Joint Chapter 11 Plan of Liquidation of the Debtors
 (the “Plan”). In accordance with the Confirmation Order, upon the Effective Date of the Plan, the Liquidating
 Custodian succeeded to substantially all of the rights, powers and duties of the Debtors. As set forth in that certain
 Notice of Occurrence of Effective Date [ECF 1094], the Effective Date of the Plan occurred on August 17, 2021.
 The Liquidating Custodian’s service address is Verdolino & Lowe, PC, Pine Brook Office Park, 124 Washington
 Street, Foxborough, MA 02035.
 2
   Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Application.
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 and after due and proper notice to all parties in interest and a hearing, is of the opinion that the

 Application should be APPROVED, in substantial part, on a final basis, as set forth herein.

           THE COURT FINDS THAT:

           A.   Except as noted herein, the legal services provided by the Firm during the

 Compensation Period as described in the Application and its accompanying exhibits were actual

 and necessary services rendered by the Firm as counsel to Carla’s Pasta, Inc. (“Carla’s Pasta”) and

 Suri Realty, LLC (“Suri” and together with Carla’s Pasta, the “Debtors”) in these Chapter 11

 Cases. The amounts sought by the Firm for these legal services are generally reasonable (except

 for the adjustments contained herein) and commensurate with fees sought by other firms of a

 similar size to the Firm in this jurisdiction and region for services rendered in bankruptcy cases of

 a size and complexity similar to these Chapter 11 Cases.

           B.   The expenses incurred by the Firm during the Compensation Period as set forth in

 the Application and its accompanying exhibits were actual, necessary expenses incurred by the

 Firm as counsel to the Debtors. The amounts sought by the Firm as reimbursement for these

 expenses are generally reasonable and commensurate with the reimbursement sought by other

 firms of similar size to the Firm in this jurisdiction and region for expenses incurred in bankruptcy

 cases of a size and complexity similar to these Chapter 11 Cases.

           IT IS THEREFORE ORDERED THAT:

           1.   The Locke Lord Application is GRANTED, in substantial part, as set forth

 herein.




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          2.       Locke Lord is allowed and awarded, on a final basis, fees for services rendered in

 the amount of $916,556.50 3 and expenses in the amount of $3,879.87, which is the aggregate sum

 of $920,436.37 (the “Fee Award”).

          3.       The requested fees of $1,016,556.50 (the “Fee Amount”) sought by Locke Lord

 have raised various concerns of the Court and the Objectors. Those concerns regarding efficiency,

 non-duplication of services, budget allocations, benefit to the estate, and cost-effective staffing

 have caused an adjustment of fees by the Court. In the exercise of its discretion, consistent with

 applicable law, and after full deliberations based upon the record and this Court’s knowledge and

 experience in these matters, the Court believes such an adjustment is fair, just and appropriate for

 the following reasons:

               (a) Implicit in the Court’s approval of the hourly rates sought herein (which represent

 the high end of the regional market for experienced bankruptcy counsel) comes the Court’s and

 creditors’ expectation that such representation shall deliver cost-effective staffing which involves

 managed delegation and supervision, review and monitoring of the Debtors’ legal team of partners,

 associates and paralegals, appropriately tasked to the difficulty and complexity of the legal matters

 herein. To the extent that 70% of the legal work in this case was rendered by senior lead counsel,

 sufficient delegation of legal matters to more junior (and less expensive) colleagues appears to be

 lacking and without adequate explanation.




 3
   Locke Lord requested total compensation in the amount of $1,019,556.50 on page 1 of its Application. The
 information provided on page 2 of the Application, however, indicates that the total compensation is actually
 $1,016,556.50 (or $3,000.00 less than the amount requested on page 1). The Court, therefore, will treat the total
 compensation sought as $1,016,556.50. The request for $1,016,556.50 has been reduced by an adjustment of
 $100,000.00 (approximately 10%).


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            (b) The Fee Amounts incurred in the DIP period exceeded the Cash Collateral Budget

 by $26,000.00, and nearly $85,000.00 during the Post-Sale/Wind-Down period of this case without

 adequate explanation.

            (c) Much of the legal work in the Post-Sale/Wind-Down period generally could have

 been accomplished through either more junior lawyers, or counsel for the Creditors’ Committee,

 or the Liquidating Custodian who each had lower rates across the board.

            (d) The requested Fee Amount is disproportionate to the aggregate recoveries

 (estimated at $450,000.00) of general unsecured creditors.

            (e) The sale of assets to CP Foods, LLC and NFP Real Estate, LLC (collectively the

 “Buyer”) directed and negotiated by Debtors’ counsel neither preserved nor monetized avoidance

 actions or other causes of action so as to fund enhanced recoveries of general unsecured creditors.

            (f) The achievement of a dividend for general unsecured creditors in this case is/or will

 be substantially attributable to the efforts of counsel for the Unsecured Creditors’ Committee and

 the Liquidating Custodian.

            (g) The staffing of the case with the invaluable and experienced assistance of a CRO,

 accountant and investment banker should have caused some of the Fee Amount to be moderated

 through wider delegation and supervision.

            (h) Not all of Debtors’ counsel’s efforts were either necessary or beneficial to the

 Chapter 11 estate, including:

                    i. the proposed retention (ECF Nos. 123, 193) and subsequent proposed

                         settlement relating to Novo Advisors, LLC as CRO (ECF Nos. 540, 652,

                         656, 657, and 757);




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                       ii. the less than sufficient disclosure of material facts to the Court and creditors

                           related to those Novo motions (which has only now been embellished in the

                           recently filed Henzy Declaration at ECF No. 1143-1, Exhibit A);

                      iii. the pursuit of third party/insider releases in connection with the sale to the

                           Buyer without advancing any material disclosures on the merits of such

                           claims or attributing or monetizing any allocated value for those releases so

                           as to serve the interests of the general unsecured creditors; and

                      iv. the abortive efforts to formulate and advance a settlement with Dennis

                           Engineering (ECF No. 665, 729, 736, 742, 745, and 785).

         4.       The previous interim monthly payments totaling $440,012.15 in fees and $4,072.11

 in expenses made by the Debtors to the Firm and approved on an interim basis under the Interim

 Compensation Order are hereby APPROVED on a final basis.

         5.       The payment of $18,776.00 (the fees related to the recovery of legal fees incurred

 in connection with the Debtor’s litigation with the Buyer over prepaid insurance) of the above

 allowed fees and expenses to Debtor’s counsel shall be deferred pending the entry of a final order

 and payment of such sums. Locke Lord shall diligently prosecute that application for fees and

 expenses of $18,776.00 (ECF No. 1131) and it shall apply such recovery to its remaining unpaid

 fees related to that litigation. Upon Locke Lord’s receipt of such sums, those monies shall be

 applied to the balance of these remaining unpaid fees.

         6.       The Debtors are otherwise further authorized and directed to pay the Firm, on a

 final basis the remaining unpaid balance of the Fee Award in the amount of $904,660.37. 4 This



 4
   This number reflects the total Fee Award of $923,436.37 minus the $18,776.00 in litigation expenses referenced in
 paragraph 5 of this Order. To date, Locke Lord has not made a filing on the docket indicating that additional legal
 fees have accrued since the filing of its Fee Application.


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 remaining balance shall be paid to the Firm in accordance with the terms of the Plan and the

 Confirmation Order.

        7.      The equitable adjustments or reductions accorded herein are appropriate, consistent

 with the interests of justice and the integrity of the judicial process. In making its determination

 on the reasonableness of Locke Lord’s Fee Amount, this Court considered the enumerated factors

 under 11 U.S.C. § 330(a)(3) and the twelve factors set forth in Johnson v. Georgia Highway

 Express, Inc. (In re Johnson), 488 F.2d 714, 717−19 (5th Cir. 1974). In the Court’s opinion, Locke

 Lord’s commendable legal, professional, and highly skilled work herein has been adequately

 valued, compensated, and recognized.

        8.      To the extent that any objection to these expenses has not been addressed by the

 Court’s adjustments to the Fee Amount, those objections are hereby OVERRULED.

        9.      This Court shall retain jurisdiction with respect to all matters relating to the

 interpretation or implementation of this Order.

        10.     This Order shall be effective immediately upon entry.

        IT IS SO ORDERED at Hartford, Connecticut this 7th day of October 2021.




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                                                     Notice Recipients
District/Off: 0205−2                      User: ddenicola                         Date Created: 10/7/2021
Case: 21−20111                            Form ID: pdfdoc2                        Total: 86


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
cr          People's United Bank, National Association
cr          Yankee Gas Services Company
20          The Connecticut Light & Power Company
cr          BMO Harris Bank N.A.
crcm        Official Committee of Unsecured Creditors
cr          Chubb Companies
cr          The Core Group and its Affiliates
cr          Pasta Technologies Group SRL
cr          Sodexo Operations, LLC
cr          State of CT, Dept. of Revenue Services
cr          Decian, Inc.
cr          Novo Advisors, LLC
op          Tribe 9 Foods, LLC
op          NFP Real Estate LLC
op          CP Foods LLC
cr          United States, on behalf of Internal Revenue Service
cr          The Insurance Company of the State of Pennsylvania
cr          Town of South Windsor
acc         Verdolino & Lowey, P.C.
db          Craig Jalbert, as Liquidating Custodian to Reorganized Debtors
                                                                                                                  TOTAL: 20

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aty         Tara Lynn Trifon             tara.trifon@lockelord.com
aty         Taruna Garg            tgarg@murthalaw.com
aty         Timothy D. Miltenberger               tim@coanmiltenberger.com
                                                                                                                  TOTAL: 35

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Carla's Pasta, Inc.      50 Talbot Lane        South Windsor, CT 06074
cr          Specialty Packaging LLC         47 Leggett St.       East Hartford, CT 06108
aty         The Dennis Engineering Group LLC           1537 Main Street        Springfield, MA 01103
aty         Steven Weiss         Shatz, Schwartz & Fentin        1441 Main Street, Suite 1100     Springfield, MA 01103
            UNITED STATES
cr          Elm Electrical, Inc.       68 Union Street       Westfield, MA 01085
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op          Stretto       410 Exchange, Suite 100           Irvine, CA 92602
cr          DESA Service, LLC            195 Governor's Highway            South Windsor, CT 06074
cr          Freezer Concepts Div. of Furnace Concepts Inc.            c/o Law Offices of George C. Tzepos         444 Middlebury
            Road         Middlebury, CT 06762
dbaty       Locke Lord LLP            111 Huntington Avenue          Boston, MA 02199 UNITED STATES
aty         Jeffrey Sklarz        Green & Sklarz LLC            One Audubon Street, Third Floor        New Haven, CT 06511
op          Stretto       Stretto        410 Exchange, Suite 100          Irvine, CA 92602
cns         Cowen and Company LLC               599 Lexington Avenue           New York, NY 10022
cns         Phoenix Executive Services, LLC            50 Congress Street         Suite 843      Boston, MA 02109
cns         Joseph Nappi          50 Congress Street         Suite 843        Boston, MA 02109
op          Stretto       410 Exchange, Suite 100           Irvine, CA 92602
db          Suri Realty, LLC          50 Talbot Lane         South Windsor, CT 06074
cr          Sprague Operating Resources, LLC             185 International Drive        Portsmouth, NH 03801 UNITED STATES
cr          City of Waterbury c/o Kevin J. Daly           Office of Corporation Counsel        235 Grand Street       Third
            Floor        Waterbury, CT 06702
cr          STAHLBUSH ISLAND FARMS, INC.                      3122 Stahlbush Island Road        Corvallis, OR 97333 UNITED
            STATES
cr          The Metropolitan District          555 Main Street        Hartford, CT 06103
cr          Elite Spice, Inc.        Attn: Krista Collins       7151 Montevideo Road          Jessup, MD 20794
cr          Sandra Picano          11 Sunrise Circle        Enfield, CT 06082
aty         Law Offices of Jeffrey Hellman, LLC            195 Church Street, 10th Floor        New Haven, CT 06510
aty         Adam L. Rosen           Adam L. Rosen PLLC             2−8 Haven Avenue−Suite 220          Port Washington, NY 11050
aty         Catherine B. Heitzenrater          Duane Morris LLP          30 South 17th Street       Philadelphia, PA 19103
aty         Jami B. Nimeroff           Brown McGarry Nimeroff LLC             Two Penn Center, Suite 610        1500 John F.
            Kennedy Blvd.           Philadelphia, PA 19102
aty         Michael R. Lastowski           Duane Morris LLP          22 Delaware Avenue, Suite 1600          Wilmington, DE
            19801−1659
aty         Michael T. Benz           Chapman and Cutler LLP           111 W. Monroe Street         Chicago, IL 60603
aty         Richard Lauter          Lewis Brisbois Bisgaard & Smith, LLP           550 West Adams Street, Suite 300        Chicago,
            IL 60661
aty         Stefan M. Palys          Lewis Brisbois Bisgaard & Smith, LLP           2112 Pennsylvania Avenue NW, Suite
            500        Washington, DC 20037
aty         Steven E. Mackey           Office of the U.S. Trustee        The Giaimo Federal Building        150 Court Street, Room
            302        New Haven, CT 06510
                                                                                                                       TOTAL: 31
